                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 3:12-00055
                                                 )           JUDGE CAMPBELL
TIMOTHY WAYNE HEDGE                              )
JAMES BENJAMIN LEE                               )

                                             ORDER

       The Court held a pretrial conference in this case on October 4, 2013. During the

conference, the Court GRANTED Defendant James Benjamin Lee’s Motion To Adopt The

Court’s Previously Given Jury Instructions (Docket No. 110). The Court explained that all prior

rulings in this case would stand, and the jury instructions and verdict forms used in the previous

trial would be used in the upcoming trial, unless a party specifically requests otherwise and

states the basis for such a request.

       For the reasons stated on the record, the Court DENIED Defendant Lee’s oral request for

severance, and alternatively, for a separate jury for each Defendant. The Court took UNDER

ADVISEMENT Defendant Lee’s request to play the video in question during voir dire.

Defendant Hedge joined in the request, and the Government opposed the request.

       The Court will hold a hearing on October 8, 2013, at 1:00 p.m. to provide juror

information in advance of trial.

       It is so ORDERED.



                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00055         Document 112       Filed 10/04/13     Page 1 of 1 PageID #: 1126
